     Case 2:21-mj-30071-DUTY ECF No. 1, PageID.1 Filed 02/11/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff

v.                                                Case No. 21-30071
                                                  Originating No. 1:21-mj-00223


JAMES ALLEN MELS,

                Defendant.
_____________________________________/

                            GOVERNMENT’S PETITION
                        FOR TRANSFER OF DEFENDANT TO
                     ANOTHER DISTRICT AND SUPPORTING BRIEF


          Pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure, the

United States of America hereby petitions the Court for an order transferring defendant

JAMES ALLEN MELS, to answer to charges pending in another federal district, and

states:


          1. On February 11, 2021, defendant was arrested in the Eastern District

Michigan in connection with a federal arrest warrant issued in the Superior Court of

the District of Columbia based on a Complaint. Defendant is charged in that

district with violation of 18 U.S.C. §1752(a)(1)- Knowingly entering or remaining in

any restricted building or grounds without lawful authority, and 40 U.S.C.

§5104(e)(2)- Violent entry and disorderly conduct on Capitol Grounds .
    Case 2:21-mj-30071-DUTY ECF No. 1, PageID.2 Filed 02/11/21 Page 2 of 2




      2. Rule 5 requires this Court to determine whether defendant is the person

named in the arrest warrant and is entitled to a preliminary examination as described in

Paragraph One above. See Fed. R. Crim. P. 5(c)(3)(D)(ii).



      WHEREFORE, the government requests this Court to conduct transfer

proceedings in accordance with Rule 5 of the Federal Rules of Criminal Procedure.


                                                Respectfully submitted,

                                                SAIMA S. MOHSIN
                                                Acting United States Attorney



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Dated: February 11, 2021
